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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO



  In re:                              CHAPTER 11

  COLORADO NATIONAL BANCORP,          CASE NO.: 17-20315 EEB
  EIN: XX-XXXXXXX

           Debtor.

    PLAN OF REORGANIZATION OF COLORADO NATIONAL BANCORP DATED
                            MAY 7, 2018




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        Pursuant to Chapter 11, Title 11 of the United States Code, 11 U.S.C. §§ l01 et seq.,
 Colorado National Bancorp (the “Debtor”), hereby respectfully proposes the following Plan of
 Reorganization Dated May 7, 2018 (the “Plan”).

                                           ARTICLE 1
                                          DEFINITIONS

         For purposes of this Plan and to the extent not otherwise provided herein, the terms below
 shall have the respective meanings hereinafter set forth and, unless otherwise indicated, the
 singular shall include the plural and capitalized terms shall refer to the terms as defined in this
 Article.

         1.1    “Administrative Claim” means a Claim for payment of an administrative
 expense of a kind specified in §§ 503(b) or 1114(e)(2) of the Bankruptcy Code and entitled to
 priority pursuant to § 507(a)(1) of the Bankruptcy Code, including, but not limited to: (a) the
 actual, necessary costs and expenses, incurred after the Petition Date, of preserving the Estate
 and operating the businesses of Debtor, including wages, salaries, or commissions for services
 rendered after the commencement of the Chapter 11 Case; (b) Professional Fee Claims; (c) all
 fees and charges assessed against the Estate under 28 U.S.C. § 1930; and (d) all Allowed Claims
 that are entitled to be treated as Administrative Claims pursuant to a Final Order of the
 Bankruptcy Court under § 546(c)(2) of the Bankruptcy Code.

         1.2    “Allowed” with respect to a Claim, means: (a) any Claim listed in Debtor’s
 Schedules as filed in connection with its Bankruptcy Case which is liquidated in amount and is
 not designated as contingent or disputed; and/or, (b) any Claim against Debtor, proof of which
 was filed on or before the Bar Date or such other bar dates as have been or may be established by
 order of the court, the Plan and/or the Confirmation Order and against which filed Claim no
 objection to the allowance thereof has been or will be interposed; or (c) any Claim which has
 been approved and allowed by a Final Order of the Bankruptcy Court.

        1.3    “Affiliate” means any Person affiliated with Debtor as defined in Bankruptcy
 Code § 101(2).

        1.4    “Bank” means Colorado National Bancorp’s wholly owned bank subsidiary,
 Colorado National Bank.

       1.5    “Bankruptcy Case” means In re Colorado National Bancorp., Case No. 17-
 20315 EEB, currently pending in the United States Bankruptcy Court, District of Colorado.

          1.6     “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101
 et seq., and all amendments thereof.

         1.7     “Bankruptcy Court” or “Court” means the United States Bankruptcy Court for
 the District of Colorado.



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         1.8    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and the
 Local Rules of the Bankruptcy Court, as the same may be amended and modified from time to
 time, and as applicable to cases pending before the Bankruptcy Court.

         1.9     “Bar Date” means: (a) with respect to Claims arising from the rejection of an
 Executory Contract or unexpired lease pursuant to the Plan, thirty (30) days after the earlier of
 the date of the Bankruptcy Court order approving Debtors’ rejection of such Executory Contract
 or unexpired lease or the Confirmation Date; (b) with respect to Professional Fee Claims and
 Administrative Claims, sixty (60) days after the Effective Date of this Plan or such other date set
 by the Court; and (c) with respect to all other Claims against Debtors, February 14, 2018 as set
 forth in Order Granting Motion to Set Bar Date for Filing Proofs of Claim and Request for
 Forthwith Entry of Order Hereon, dated December 7, 2017. A list of Claims which are (a)
 scheduled, but not disputed, contingent or unliquidated, or (b) filed via a Proof of Claim, is
 attached hereto as Exhibit A.

          1.10 “Business Day” means any day other than a Saturday, Sunday or “legal holiday”
 as that term is defined at Bankruptcy Rule 9006(a).

         1.11 “Cash” means Cash or Cash equivalents, including currency, checks, and wire
 transfers of immediately available funds denominated in United States dollars.

         1.12 “Causes of Action” means, without limitation, any and all actions, causes of
 action, liabilities, obligations, rights, suits, debts, sums of money, damages, judgments, claims
 and demands whatsoever, whether known or unknown, in law, equity or otherwise.

       1.13 “Claim” has the same meaning as that term is defined in § 101(5) of the
 Bankruptcy Code.

         1.14 “Class” means any group of Holders of Claims or Interests as classified in Article
 2 of the Plan.

         1.15 “Common Stock Interest” means an interest in Debtor represented by Debtor’s
 issued and outstanding common stock as of the Effective Date. All references to Common Stock
 Interests subsequent to the Effective Date shall be deemed to refer to the Distribution rights of
 the Holders of Common Stock Interests.

         1.16 “Confirmation Date” means the date on which the Confirmation Order is entered
 on the docket maintained by the clerk of the Bankruptcy Court.

        1.17 “Confirmation Hearing” means the duly noticed hearing held by the Bankruptcy
 Court to consider confirmation of the Plan. The Confirmation Hearing may be adjourned by the
 Bankruptcy Court from time to time without further notice other than the adjourned date of the
 Confirmation Hearing.

        1.18 “Confirmation Order” means the Order issued and entered confirming the Plan
 pursuant to § 1129 of the Bankruptcy Code.

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         1.19        “Debtor” means Colorado National Bancorp, proponent of this Plan.

         1.20 “Disallowed” means, when referring to a Claim, a Claim or any portion thereof,
 that (a) has been disallowed or expunged, in whole or part, by a Final Order; (b) has been
 withdrawn by agreement of the Debtor and the Holder thereof, in whole or in part; (c) has been
 withdrawn, in whole or in part, by the Holder thereof; (d) is listed in the Schedules as zero or as
 disputed, contingent or unliquidated and in respect of which a Proof of Claim has not been
 timely filed or deemed timely filed pursuant to the Plan, the Bankruptcy Code or any Final Order
 of the Bankruptcy Court; (e) has been reclassified, expunged, subordinated or estimated to the
 extent that such reclassification, expungement, subordination or estimation results in a reduction
 in the filed amount of any Proof of Claim; or (f) is evidenced by a Proof of Claim which has
 been filed, or which has been deemed to be filed under applicable law or order of the Bankruptcy
 Court or which is required to be filed by order of the Bankruptcy Court, but as to which such
 Proof of Claim was not timely or properly filed. In each case a Disallowed Claim is disallowed
 only to the extent of disallowance, withdrawal, reclassification, expungement, subordination or
 estimation.

        1.21 “Disclosure Statement” means the document filed, or to be filed, in connection
 with Debtor’s Chapter 11 Case pursuant to § 1125 of the Bankruptcy Code and approved by the
 Bankruptcy Court as containing “adequate information” as that term is defined in § 1125(a) (1)
 of the Bankruptcy Code, and any exhibits annexed thereto and any documents delivered in
 connection therewith, as the same may be amended from time to time by any duly authorized
 amendment or modification.

        1.22 “Disputed Claim” means any Claim which is not an Allowed Claim, including,
 without limitation, any Claim designated as disputed, contingent or unliquidated in Debtor’s
 schedules filed in connection with this Case, or any Claim against which an objection to the
 allowance thereof has been, or will be, interposed, and as to which no Final Order has been
 entered.

         1.23        “Distribution” means any distribution by the Plan Administrator made pursuant
 to the Plan.

        1.24 “Effective Date” means the later of the first Business Day (a) that is at least
 fourteen (14) days after the Confirmation Date unless stayed pending appeal, or (b) after closing
 under the Stock Purchase Agreement or the Stalking Horse Bidders SPA .

         1.25        “Entity” shall have the meaning assigned in § 101(15) of the Bankruptcy Code.

       1.26 “Estate” means Debtor’s bankruptcy estate created in the above-captioned
 Bankruptcy Case pursuant to § 541 of the Bankruptcy Code.

         1.27 “Estate Assets” means, collectively, all of the legal and equitable rights in and to
 all assets, property, interests and affects, real and personal, tangible and intangible, wherever
 situated, held at any time by the Estate.


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         1.28 “Executory Contract” means any executory contract or unexpired lease of real
 or personal property, as contemplated by §§ 365, 1113, 1114 of the Bankruptcy Code, in effect
 on the Petition Date, between Debtor and any Person, and including, without limitation, any
 written employment agreements or plans and employee benefit plans and agreements.

       1.29 “Final Decree” means a Final Order of the Bankruptcy Court closing the
 Bankruptcy Case.

         1.30 “Final Distribution” means the Distribution by the Plan Administrator, which
 satisfies in full the obligations set forth in the Plan.

        1.31 “Final Order” means an order or judgment entered by the Bankruptcy Court, or
 another court of competent jurisdiction, in connection with this Case, matters relating to this
 Case, or proceedings therein, which has not been reversed, stayed, modified or amended and as
 to which the time to appeal or to seek certiorari, review or rehearing is pending or as to which
 any right to appeal or to seek certiorari, review of rehearing has been waived in writing in a
 manner satisfactory to Debtor.

        1.32 “General Unsecured Claim” or “Unsecured Claim” means any Claim against
 Debtor, that is not a Secured Claim, Administrative Claim, Priority Tax Claim or Priority Claim,
 including without limitation any Claims arising from the rejection of Executory Contracts and/or
 unexpired leases, and including any allegedly secured but unperfected Claims that are not
 otherwise dealt with in this Plan.

         1.33        “Holder” means the beneficial owner of any Claim or Interest.

         1.34 “Impaired” means, when used with reference to a Claim or Interest, a Claim or
 Interest that is impaired within the meaning of § 1124 of the Bankruptcy Code.

         1.35        “Interest” means any ownership interests Debtor has in the Estate.

         1.36 “Late Claim” means a General Unsecured Claim filed after the Bar Date or after
 any filing deadline applicable to such Claim, which has the priority described in § 726(a)(3) of
 the Bankruptcy Code.

        1.37 “Lien” shall mean (with respect to any interest in property) any mortgage, lien,
 pledge, charge, security interest, hypothecation, constructive or other trusts, or encumbrance of
 any kind whatsoever in respect of or affecting such interests in property.

         1.38 “Liquidation Reserve” means a cash reserve, carved out of the Cash, for the
 payment of (a) estimated post Confirmation Administrative Claims, (b) all Disputed or
 unliquidated Claims that are Administrative Claims, Priority Tax Claims or Claims in Classes 1
 and 2, and (c) estimated post-confirmation Quarterly UST Fees.

         1.39        “Person” shall have the meaning assigned in § 101(41) of the Bankruptcy Code.


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         1.40        “Petition Date” means November 8, 2017.

       1.41 “Plan” means this Plan of Reorganization Dated May 7, 2018, any exhibits
 annexed hereto and any documents delivered in connection herewith, as the same may be
 amended from time to time by any duly authorized amendment or modification.

        1.42         “Plan Administrator” means Patrick M. Donovan of Cordes & Company or any
 successor.

          1.43     “Priority Claim” means any Claim entitled to priority under § 507(a)(1), (4), (5),
 (6), or (7) of the Bankruptcy Code.

        1.44 “Priority Tax Claim” shall mean an Allowed Claim that is entitled to priority
 under Bankruptcy Code § 507(a)(8).

        1.45 “Professional” means any professional employed in Debtor’s case pursuant to §§
 327 or 1103 of the Bankruptcy Code or otherwise and any Professional seeking compensation or
 reimbursement of expenses in connection with Debtor’s case pursuant to § 503(b)(4) of the
 Bankruptcy Code.

         1.46 “Professional Fee Claim” means a Claim of a Professional for compensation or
 reimbursement of costs and expenses relating to services incurred after the Petition Date and
 prior to and including the Effective Date.

        1.47 “Pro Rata” means the ratio of an Allowed Claim in a particular Class to the
 aggregate amount of all Allowed Claims in that Class.

        1.48 “Quarterly UST Fees” means post-confirmation quarterly fees owing to the
 United States Trustee Program pursuant to 28 U.S.C. § 1930(a)(6).

         1.49 “Secured Claim” means a Claim of a creditor that is secured by property of
 Debtor, to the extent of the value of the creditor’s interest and Debtor’s interest in such property,
 as provided in § 506(a) of the Bankruptcy Code. “Secured Claim” shall also mean a Claim of a
 creditor that is subject to setoff under § 553 of the Bankruptcy Code, to the extent of the amount
 subject to setoff, as provided in § 506(a) of the Bankruptcy Code.

         1.50 “Secured Tax Claim” means a Secured Claim of a governmental unit that would
 otherwise meet the description of an unsecured claim of a governmental unit under § 507(a)(8),
 but for the secured status of that claim.

         1.51        “Stalking Horse Bidders” means Marks Moskvins and Maksims Jarosevskis.

        1.52 “Stalking Horse SPA” means the stock purchase agreement dated as of
 November 8, 2017, amended and restated as of February 23, 2018, between Debtor and the
 Stalking Horse Bidders.


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       1.53 “Stock Purchase Agreement” means the stock purchase agreement dated as of
 March 28, 2018 between Debtor and Jeffrey A. Desich and Richard A. Desich.

       1.54 “Subordinated Claim” means a Claim subordinated pursuant to § 510 of the
 Bankruptcy Code.

 Other Definitions. Unless the context otherwise requires, any capitalized term used and not
 defined herein or elsewhere in the Plan but that is defined in the Bankruptcy Code, the
 Bankruptcy Rules, or the Disclosure Statement shall have the meaning set forth therein.

 Computation of Time. In computing any period of time prescribed or allowed by the Plan, the
 provisions of Bankruptcy Rule 9006(a) shall apply.

                                   ARTICLE 2
                     CLASSIFICATION OF CLAIMS AND INTERESTS

         A.      Summary. The categories of Claims and Common Stock Interests listed below
 classify Claims and Common Stock Interests for all purposes, including voting, confirmation and
 Distribution pursuant to the Plan and pursuant to §§ 1122 and 1123(a)(l) of the Bankruptcy Code
 except for Classes pertaining to Administrative and Priority Tax Claims, which are not classified
 pursuant to 11 U.S.C. § 1123 (a)(1) and are not entitled to vote on the Plan. A Claim or
 Common Stock Interest shall be deemed classified in a particular Class only to the extent that the
 Claim or Common Stock Interest qualifies within the description of that Class and shall be
 deemed classified in a different Class to the extent that any remainder of such Claim or Common
 Stock Interest qualifies within the description of such different Class. A Claim or Common
 Stock Interest is in a particular Class only to the extent that such Claim or Common Interest may
 be Allowed in that Class.

         The classification of Claims and Common Stock Interests against Debtor pursuant to this
 Plan is as follows:

  Class                       Class                          Status               Voting Rights
 Number
    N/A       Administrative Claims                     Unimpaired          No
    N/A       Priority Tax Claims                       Unimpaired          No
     1.       Unsecured Claims                          Impaired            Yes
     2.       Common Stock Interests                    Impaired            Yes

                                   ARTICLE 3
                     ADMINISTRATIVE AND PRIORITY TAX CLAIMS

        A.      Treatment of Administrative Claims. Administrative Claims are not designated
 as a Class pursuant to Bankruptcy Code § 1123(a)(1) and are not entitled to vote pursuant to the
 Bankruptcy Code. Unless otherwise agreed, these Claims (other than Allowed Operating


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 Administrative Claims) shall receive payment in full (unless previously paid in full pursuant to
 Court orders), in Cash on the later of (i) the Effective Date, or (ii) within twenty (20) Business
 Days after the date these Claims become Allowed Claims; provided, however, that any unpaid
 Quarterly UST Fees, including any uncontested delinquent fees, shall be paid on the Effective
 Date. All Professional Fee Claims and Administrative Claims shall be filed within sixty (60)
 days of the Effective Date or shall be forever barred.

         B.      Treatment of Priority Tax Claims. Priority Tax Claims are not designated as a
 Class pursuant to Bankruptcy Code § 1123(a)(1) and are not entitled to vote pursuant to the
 Bankruptcy Code. Unless otherwise agreed, these Claims, at the option of the Plan
 Administrator, shall receive (i) payment in full (unless previously paid in full pursuant to Court
 orders), in Cash on the later of (A) the Effective Date, or (B) within twenty (20) Business Days
 after the date these Claims become Allowed Claims; or (ii) deferred quarterly cash payments,
 with interest at the prevailing statutory rate set forth in Internal Revenue Code § 6621 per
 annum, payable over a period of five years, commencing on the later of (A) the Effective Date,
 or (B) within twenty (20) Business Days after the date these Claims become Allowed Claims.

                                       ARTICLE 4
                         TREATMENT OF CLAIMS THAT ARE IMPAIRED

         A.          Treatment of Class 1 Claims. Class 1, Unsecured Claims, is Impaired.

                 1.     Distributions to Holders of Allowed Class 1 Claims shall be made by the
         Plan Administrator. Holders of Allowed Class 1 Claims shall receive their Pro Rata
         share of the Distributions based upon the total amount of all Allowed and Disputed Class
         1 Claims pending at the time of such Distribution. No Distribution shall be made in
         respect of any Disputed Class 1 Claim. The Pro Rata portion of the funds applicable to
         each Disputed Class 1 Claim shall be withheld unless and until such Claim becomes an
         Allowed Claim. The Pro Rata portion of the funds withheld in respect of any disputed
         Class 1 Claim shall be withheld unless and until such Claim becomes an Allowed Claim.
         Since Class 1 is Impaired, it is entitled to vote to accept or reject the Plan.

                 2.      The Plan Administrator shall make subsequent Distributions to Holders of
         Allowed Class 1 Claims to the extent there are sufficient funds available which are not
         required to be withheld for Disputed Claims. Subsequent Distributions will be made first
         to Holders of Disputed Class 1 Claims that have become Allowed Claims until they have
         received the same percentage on their Claims as other Allowed Claims and the pro rata
         to all Holders of Allowed Class 1 Claims.

                3.      The Plan Administrator shall continue to make Distributions to Class 1
         Claims until a Final Decree has been entered in the Chapter 11 Case.

        B.      Treatment of Class 2 Interests. Class 2, Common Stock Interests, is Impaired.
 On the Effective Date all Common Stock Interests will be terminated and cancelled. Holders of
 Allowed Common Stock Interests shall receive Pro Rata Distributions, if any, from any
 remaining Cash only after payment in full of all Allowed Claims. The Distributions will be

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 made to Class 2 at the Plan Administrator’s discretion. The Distributions will be made to the
 record stockholder as of the date of any such Distribution and the amount of such Distribution
 will be determined by dividing the amount of the Distribution by the total outstanding shares of
 common stock multiplied by the number of shares of stock that such stockholder owns as of the
 record date. The Plan Administrator will make Distributions, if any, to Class 2 after payment of
 any final expenses of administration, on a Pro Rata basis. Since Class 2 is impaired, it is entitled
 to vote to accept or reject the Plan.

                                     ARTICLE 5
                      EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         Upon the Effective Date, all unexpired leases and Executory Contracts which were
 entered into prior to the Petition Date and have not already been rejected or previously assumed
 and assigned will be deemed rejected by the Debtor as of the Petition Date. This Plan shall be
 deemed to constitute a motion to approve the above-described rejection and entry of an order
 confirming this Plan shall constitute approval of such rejection. Holders of Claims arising as a
 result of rejection under this Article will have until thirty (30) days from the Effective Date
 within which to file proofs of claim for such rejected Claims, or will otherwise be barred.

                                       ARTICLE 7
                            MEANS FOR EXECUTION OF THE PLAN

        A.      Appointment of Plan Administrator. On the Effective Date, Patrick M.
 Donovan of Cordes & Company shall be appointed Plan Administrator. He shall exercise the
 powers and carry out the duties of the Plan Administrator set forth in this Plan until closing of
 the Case or such time as he is unable to serve, in which case, the Bankruptcy Court may appoint
 a successor. The Plan Administrator shall be compensated at $335.00 per hour, plus reasonable
 out of pocket expenses. Others at Cordes & Company will bill at hourly rates ranging from
 $75.00 to $425.00.

       B.      Powers of Plan Administrator.              The powers and duties of the Plan
 Administrator shall include:

                 1.     To take control of, preserve, and convert Cash property of the Estate,
 subject to the terms of this Plan;

                 2.      To investigate and prosecute or abandon all Causes of Action belonging to
 or assertible by the Estate, including all Avoidance Claims;

                     3.   To review and object to Claims filed against the Debtor;

                4.     To Compromise all disputes, including all Causes of Action, Avoidance
 Claims, and to Objections to Claims;

                 5.      To make Distributions on account of all Allowed Claims consistent with
 the terms of this Plan;

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                6.     To retain Persons and Professionals to assist in carrying out the powers
  and duties enumerated pursuant to this Plan;

                7.     To enter into contracts as necessary to assist in carrying out the powers
  and duties enumerated pursuant to this Plan;

                      8.    To hire employees and/or terminate current employees of Debtor;

               9.      To pay expenses incurred in carrying out the powers and duties
  enumerated pursuant to this Plan, including Professional Fees incurred after the Effective Date;

                10.    To make all necessary actions to assure that the corporate existence of the
  Debtor remains in good standing until entry of a Final Decree closing the Chapter 11 Case;

                11.    To open and maintain bank accounts and deposit funds and draw checks
  and make Distributions in accordance with the Plan;

                 12.     In general, without any manner limiting the foregoing, to deal with the
  assets of the Estate or any part or parts thereof in all other ways as would be lawful for any
  person owning the same to deal therewith; provided, however, that the investment powers of the
  Plan Administrator, other than those reasonably necessary to maintain the value of the Estate’s
  assets and to further the liquidating purpose, are limited to the power to invest in demand and
  time deposits, such as short term certificates of deposit, in banks and other savings institutions,
  or other temporary, liquid investments, such as United States Treasury Bills;

                      13.   At the appropriate time, to ask the Bankruptcy Court to make the Final
  Decree.

         C.     No Liability. The Plan Administrator shall have authority to bind the Estate
  consistent with the terms of the Plan and shall incur no personal liability for contracts or
  agreements into which he may enter on behalf of the Estate.

          D.     General Authorizations. Pursuant to §§ 105 and 1142(b) of the Bankruptcy
  Code, and, as applicable, pursuant to §303 of the General Corporation Law of the State of
  Delaware (and any other applicable law of the State of Delaware), the Plan Administrator is
  empowered to and shall take any and all actions reasonably necessary to implement the
  transactions contemplated by the Plan, all without further corporate action or action by (or vote
  of) directors or stockholders of Debtor. The Plan Administrator shall file post-confirmation
  quarterly reports.

                                           ARTICLE 8
                                  DISTRIBUTIONS AND RESERVES

          A.    Initial Distributions and Liquidation Reserve. On the Effective Date, the Plan
  Administrator will pay from the Cash on hand the existing Allowed Administrative Claims and
  Priority Tax Claims, if any. After payment of these Allowed Claims, the Plan Administrator

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  shall establish the Liquidation Reserve. As and when the Claims listed above become Allowed
  Claims, the Plan Administrator shall pay such claims from the Liquidation Reserve within thirty
  days from the date the Claim becomes an Allowed Claim. Any Quarterly UST Fee shall be
  made when due, which payment obligation shall continue until Debtor’s chapter 11 case is
  closed. The Plan Administrator shall also comply with all reporting requirements of the Office
  of the U.S. Trustee.

         B.     Unsecured Claims. As to Allowed Class 1 Claims, the Plan Administrator shall
  make periodic Distributions no more frequently than monthly, within his or her sole discretion,
  on a Pro Rata basis, from the Liquidation Reserve, after the establishment of the Liquidation
  Reserve. Upon final resolution of a Class 1 Disputed Claim, the Plan Administrator shall make a
  Pro Rata Distribution on the Allowed amount of such Class 1 Claim (consistent with the
  percentage paid to other Allowed Class 1 Claims) as provided in Section 9 C herein.

         C.       Common Stock Interests. If and when all Class 1 Unsecured Claims and all
  Administrative Claims are paid in full, the Plan Administrator or his designee shall make
  Distributions, on a Pro Rata basis, to all Holders of Allowed Common Stock Interests.

                                        ARTICLE 9
                      DISPUTED CLAIMS AND DISPUTED EQUITY INTERESTS

          A.      Objections. After the Effective Date, objections to Claims and Common Stock
  Interests shall be made only by the Plan Administrator, and objections to Claims and Common
  Stock Interests made prior to the Effective Date shall be pursued only by the Plan Administrator.
  The Plan Administrator may, at any time up to the six month anniversary of the Effective Date,
  file an objection to any Claim or Common Stock Interests that in the Plan Administrator’s
  opinion should be rejected in whole or in part. The period within which to file any such
  objections may be extended with Court approval. This objection procedure will apply, without
  limitation, to Claims arising from the rejection of Executory Contracts and unexpired leases.
  Upon the filing of any such objection, such Claim or Common Stock Interest will be considered
  a Disputed Claim or Disputed Common Stock Interest, as applicable.

         B.     Allowance of Disputed Claims and Payment of Distributions. Upon the
  allowance of a Disputed Claim, either by compromise and settlement or by Final Order, the Plan
  Administrator shall distribute to the Holder of such Allowed Claim the Distributions to which
  such Holder shall be then entitled within thirty days after the date of the entry of the judgment by
  which such Disputed Claim becomes an Allowed Claim or otherwise consistent with the timing
  and terms of Distribution to other members of the same Class.

          C.       Reserve for Disputed Claims. The Plan Administrator shall make an adequate
  reserve for all Disputed Claims. In calculating the amount of reserves to be contained in the
  Liquidation Reserve for Disputed Claims, the Plan Administrator shall reserve an amount equal
  to either (i) the full amount claimed by the Holder thereof; or (ii) the amount of such Claim as
  estimated or Allowed by order of the Court. In calculating the amount of reserves to be contained
  in the Liquidation Reserve, any excess amount reserved on such Disputed Claim shall be


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  released from the Liquidation Reserve. The Plan Administrator shall reserve a percentage of
  Disputed Unsecured Claims equal to the estimated Pro Rata Distribution for Claims in Class 1.
  No Holder of any Disputed Claim shall be entitled to recover any Distributions made to other
  Holders of Allowed Claims regardless of any delay in obtaining an order allowing or estimating
  a Disputed Claim or unliquidated Claim. Notwithstanding anything herein to the contrary, no
  reserve shall be necessary on account of unliquidated Claims (except for Administrative Claims),
  unless and until such Holders shall obtain an order of the Bankruptcy Court estimating such
  Claim(s) for the purpose of calculating a proper reserve prior to the allowance thereof by order of
  the Bankruptcy Court

          D.      Estimation of Disputed Claims and Common Stock Interests. Any Disputed
  Claim or Common Stock Interest may be estimated by the Court at any time, regardless of
  whether such Claim or Common Stock Interest has been Allowed by the Court or another court,
  and regardless of whether any judgment or order with respect to such Claim or Common Stock
  Interest is on appeal, for purposes of making Distributions or holding funds in reserve under the
  Plan (if applicable). If a Claim or Common Stock Interest has been estimated by the Court for
  purposes of accepting or rejecting this Plan, such estimation shall be used for the purposes of
  making Distributions or holding funds in reserve under the Plan (if applicable), and no further
  estimation will be required.

                                   ARTICLE 10
                      ADVERSARY PROCEEDINGS AND LITIGATION

         A.     Adversary Proceedings. To the extent Avoidance Actions exist, the Plan
  Administrator may pursue them to the fullest extent provided by applicable law and equity,
  including any Claims or Interests that may exist under Chapter 5 of the Bankruptcy Code
  including §§ 542, 544, and 547 through 551of the Bankruptcy Code.

           B.     Litigation. The Plan Administrator shall have the right to commence and defend
  litigation as necessary in any court of applicable jurisdiction.

         C.     Causes of Action. Except as otherwise provided in the Plan, as of the Effective
  Date, pursuant to § 1123(b)(3)(B) of the Bankruptcy Code, any and all Causes of Action
  accruing to the Debtor, or the Debtor in its capacity as debtor-in-possession, not released or
  compromised pursuant to this Plan, including, without limitation, actions under §§ 544, 545, 547,
  548, 549, 550, 551, and 553 of the Bankruptcy Code, shall remain Estate Assets, and the Plan
  Administrator shall have the authority to prosecute such Causes of Action for the benefit of the
  Estate. On and after the Effective Date, the Plan Administrator shall have the authority to
  compromise, settle, discontinue, abandon, dismiss, or otherwise resolve all such Causes of
  Action when the proposed settlement amount is to be less than $25,000.00 without notice and a
  hearing and without an order of the Bankruptcy Court. All other settlements shall be subject to
  notice and a hearing pursuant to § 102(1) of the Bankruptcy Code and a Final Order of the
  Bankruptcy Court approving the settlement.




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                             ARTICLE 11
        CONFIRMATION NOTWITHSTANDING REQUIREMENTS OF § 1129(a)(8)

          Debtor requests that, if necessary, the Court confirm this Plan, as it may be modified
  prior to the Confirmation Date pursuant to § 1129(b) of the Bankruptcy Code, notwithstanding
  the failure of the Plan to satisfy the requirements of § 1129(a)(8) of the Bankruptcy Code.

                                         ARTICLE 12
                                  EFFECT OF CONFIRMATION

          A.     Binding Nature. From and after the Confirmation Date, the provisions of the
  Plan shall be binding on Debtor, the Plan Administrator, and all Holders of Claims and Common
  Stock Interests whether or not such Persons or Entities have accepted the Plan. All actions in
  existence on the Effective Date, or other Claims, which could have been brought against Debtor
  are stayed.

          B.      Discharge. Except as otherwise provided herein, any prior orders of the
  Bankruptcy Court or any other court of competent jurisdiction, on the Effective Date: (1) the
  rights afforded in the Plan and the treatment of all Claims and Common Stock Interests herein
  shall be in exchange for and in complete satisfaction, discharge and release of all Claims and
  Common Stock Interests of any nature whatsoever, including any interest accrued on such
  Claims from and after the Petition Date, or any of its assets, property or its Estate; (2) the Plan
  shall bind all Holders of Claims and Common Stock Interests, regardless of whether any such
  Holders failed to vote to accept or to reject the Plan or voted to reject the Plan; and (3) all Claims
  against and Common Stock Interests in the Debtor, and the Debtor in its capacity as debtor-in-
  possession, shall be satisfied, discharged and released in full, and the Debtor's liability with
  respect thereto shall be extinguished completely, including, without limitation, any liability of
  the kind specified under § 502(g) of the Bankruptcy Code; provided, however, that nothing in
  this Plan shall discharge any liabilities of the Debtor arising after the entry of the Confirmation
  Order or that is not otherwise a Claim within the meaning of § 101(5) of the Bankruptcy Code.

                                        ARTICLE 13
                                 DELIVERY OF DISTRIBUTIONS

           A.      Delivery of Distributions in General. Except as may be otherwise provided in
  the Plan, and notwithstanding any authority to the contrary, Distributions to Holders of Allowed
  Claims and Allowed Common Stock Interests shall be made by the Plan Administrator or his
  designee, at his discretion, (i) to the signatory set forth on any of the proofs of claim or interest
  (or at the last known addresses of such Holder if no proof of claim or interest is filed or if Debtor
  or the Plan Administrator has been notified in writing of a change of address); (ii) at the
  addresses reflected in Debtor’s stock register, if no proof of interest has been filed and the Plan
  Administrator has not received a written notice of a change of address; (iii) in the case of a
  Holder whose Common Stock Interest is governed by an agreement and/or administered by a
  servicer, at the addresses contained in the official records of such servicer; or (iv) on any counsel
  that has appeared in this Chapter 11 Case on the Holder’s behalf. The Plan Administrator shall


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  not incur any liability whatsoever on account of any Distributions so long as such Distributions
  are made to Holders of Allowed Claims and Allowed Common Stock Interests, as such Claims
  and Interests may have been assigned pursuant to the provisions of the Bankruptcy Code and
  Bankruptcy Rules.

         B.      Foreign Currency Exchange Rate. As of the Effective Date, any Unsecured
  Claim or Common Stock Interest asserted in currency(ies) other than U.S. dollars shall be
  automatically deemed converted to the equivalent U.S. dollar value using the exchange rate as of
  the Effective Date, as quoted at 4:00 p.m., mid-range spot rate of exchange for the applicable
  currency as published in The Wall Street Journal, National Edition, on the Effective Date.

          C.      Undeliverable Distributions. If any Distribution to a Holder of an Allowed
  Claim or Allowed Common Stock Interest is returned to the Plan Administrator or his designee
  as undeliverable, no further Distributions shall be made to such Holder unless and until the Plan
  Administrator is notified in writing of such Holder’s then-current address, at which time all
  currently due missed Distributions shall be made to such Holder without interest. Undeliverable
  Distributions shall remain in the possession of the Plan Administrator or his designee until such
  time as a Distribution becomes deliverable, and shall not be supplemented with any interest,
  dividends, or other accruals of any kind. As soon as reasonably practicable, the Plan
  Administrator or his designee shall make all Distributions that become deliverable. All
  Distributions under the Plan that are unclaimed for a period of 120 days after Distribution thereof
  shall be deemed unclaimed property and shall thereafter be delivered by the Plan Administrator
  or his designee to the appropriate governmental agency in accordance with applicable escheat,
  abandoned or unclaimed property laws. The provisions of the Plan regarding undeliverable
  Distributions shall apply with equal force to Distributions made pursuant to any Common Stock
  Interests, notwithstanding any provision in any stock certificate or in Debtor’s Articles or Bylaws
  to the contrary.

          D.      Time Bar to Payment of Distributions. Checks issued by the Plan
  Administrator or his designee on account of Allowed Claims and Allowed Common Stock
  Interests shall be null and void if not negotiated within 120 days from and after the date of
  issuance thereof. Requests for reissuance of any check shall be made directly to the Plan
  Administrator or his designee by the Holder of the relevant Allowed Claim or Allowed Common
  Stock Interests with respect to which such check originally was issued, and shall be made at least
  120 days after the date of issuance of such check. After such dates, Claims for the reissuance of
  checks shall be discharged and forever barred, and any Distributions represented thereby shall be
  deemed unclaimed property and treated in accordance with the provisions of the foregoing
  paragraph.

                                       ARTICLE 14
                                RETENTION OF JURISDICTION

        Under §§ 105(a) and 1142 of the Bankruptcy Code, and notwithstanding entry of the
  Confirmation Order and occurrence of the Effective Date, the Bankruptcy Court shall retain



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  exclusive jurisdiction over all matters arising out of, and related to, the Chapter 11 Case and the
  Plan to the fullest extent permitted by law, including, among other things, jurisdiction to:

          A.     Allow, disallow, determine, liquidate, classify, estimate or establish the priority or
  secured or unsecured status of any Claim or Interest not otherwise allowed under the Plan,
  including the resolution of any request for payment of any Administrative Claim and the
  resolution of any objections to the allowance or priority of Claims or Interests;

          B.    Hear and determine all applications for compensation and reimbursement of
  expenses of Professionals under the Plan or under §§ 330, 331, 503(b), 1103 and 1129(a)(4) of
  the Bankruptcy Code; provided, however, that from and after the Effective Date, the payment of
  the fees and expenses of the Reorganized Debtor in performing this Plan shall be made in the
  ordinary course of business and shall not be subject to approval of the Bankruptcy Court;

          C.          Effectuate performance of and payments under the provisions of the Plan;

         D.       Hear and determine any and all adversary proceedings, motions, applications, and
  contested or litigated matters arising out of, under, or related to, the Chapter 11 Case;

        E.      Enter such orders as may be necessary or appropriate to execute, implement, or
  consummate the provisions of the Plan and all contracts, instruments, releases, and other
  agreements or documents created in connection with the Plan, the Disclosure Statement or the
  Confirmation Order;

        F.      Hear and determine disputes arising in connection with the interpretation,
  implementation, consummation, or enforcement of the Plan, including disputes arising under
  agreements, documents or instruments executed in connection with the Plan;

         G.     Consider any modifications of the Plan, cure any defect or omission, or reconcile
  any inconsistency in any order of the Bankruptcy Court, including, without limitation, the
  Confirmation Order;

        H.     Issue injunctions, enter and implement other orders, or take such other actions as
  may be necessary or appropriate to restrain interference by any Entity with implementation,
  consummation, or enforcement of the Plan or the Confirmation Order;

        I.     Enter and implement such orders as may be necessary or appropriate if the
  Confirmation Order is for any reason reversed, stayed, revoked, modified, or vacated;

         J.      Hear and determine any matters arising in connection with or relating to the Plan,
  the Disclosure Statement, the Confirmation Order, or any contract, instrument, release, or other
  agreement or document created in connection with the Plan, the Disclosure Statement or the
  Confirmation Order;

        K.      Enforce all orders, judgments, injunctions, releases, exculpations,
  indemnifications and rulings entered in connection with the Chapter 11 Case or this Plan;

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          L.     Except as otherwise limited herein, recover all assets of the Debtor and property
  of the Debtor’s Estate, wherever located;

         M.     Hear and determine all disputes involving the existence, nature, or scope of the
  Debtor’s discharge;

         N.      Modify the Plan at the request of the Plan Administrator and as provided by
  applicable law;

         O.    Hear and determine such other matters as may be provided in the Confirmation
  Order or as may be authorized under, or not inconsistent with, provisions of the Bankruptcy
  Code; and

          P.          Enter a Final Decree closing the Chapter 11 Case.

                                           ARTICLE 15
                                    MISCELLANEOUS PROVISIONS

         A.      Effectuating Documents and Further Transactions. The Debtor is authorized
  to execute, deliver, file, or record such contracts, instruments, releases, and other agreements or
  documents and take such actions as may be necessary or appropriate to effectuate and further
  evidence the terms and conditions of the Plan and any notes or securities pursuant to the Plan.

          B.    Aid in Implementation of the Plan. The Bankruptcy Court may direct the
  Debtor and any other necessary party to execute or deliver or to join the execution or delivery of
  any instrument required to effect the Plan, and to perform any other act necessary to consummate
  the Plan.

          C.      Exculpation. The Debtor and any of its shareholders, officers, directors,
  employees, advisors, and agents shall neither have nor incur any liability to any Holder of a
  Claim, or any party acting or asserting a Claim through a Holder of a Claim, for any act or
  omission in connection with, related to, or arising out of, the pursuit of confirmation of the Plan,
  the consummation of the Plan or the administration of the Plan or the property to be distributed
  under the Plan, except for willful misconduct or gross negligence, and, in all respects, the Debtor
  and its shareholders, officers, directors, employees, advisors and agents, shall be entitled to rely
  upon the advice of counsel with respect to their duties and responsibilities under the Plan. In
  addition, the Debtor’s Professionals, including the Debtor’s attorneys, shall neither have nor
  incur any liability to any Holder of a Claim, or any party acting or asserting a Claim through a
  Holder of a Claim, for any act or omission in connection with, related to, or arising out of the
  Chapter 11 Case, except for willful misconduct or gross negligence. For the avoidance of doubt,
  except for the Debtor's attorneys, neither the Debtor nor any of its shareholders, officers,
  directors, employees, or agents shall be exculpated for any act or omission in connection with,
  related to, or arising out of the Chapter 11 Case, including the sale of the Bank and all acts or
  omissions taken after the Petition Date, other than acts or omission taken after the Petition Date
  in connection with, related to, or arising out the pursuit of confirmation of the Plan, the


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  consummation of the Plan or the administration of the Plan or the property to be Distributed
  under the Plan.

          D.     Post-Effective Date Statutory Fees. All fees payable pursuant to § 1830 of Title
  28 of the United States Code incurred after the Effective Date shall be paid in accordance with
  applicable law. The Plan Administrator shall submit post-confirmation reports in compliance
  with applicable law.

          E.       Severability. In the event that the Bankruptcy Court determines, before the
  Confirmation Date, that any provision in the Plan is invalid, void, or unenforceable, such
  provision shall be invalid, void, or unenforceable with respect to the Holder or Holders of such
  Claims or Common Stock Interests as to which the provision is determined to be invalid, void, or
  unenforceable. The invalidity, voidness, or unenforceability of any such provisions shall not
  limit or affect the enforceability and operative effect of any other provision of the Plan.

          F.     Section 1125(e) Good Faith Compliance. The Debtor, the Plan Administrator,
  and other parties subject to this Chapter 11 Case, and each of their respective representatives,
  shall be deemed to have acted in “good-faith” under section 1125(e) of the Bankruptcy Code in
  connection with the confirmation and consummation of this Plan.

         G.     Binding Effect. The Plan shall be binding upon and inure to the benefit of the
  Debtor and the Holders of Claims and Common Stock Interests and their respective successors
  and assigns.

          H.      Notices. To be effective, all notices, requests, and demands to or upon the Debtor
  shall be in writing and, unless otherwise expressly provided herein, shall be deemed to have been
  duly given or made when actually delivered, or in the case of notice by facsimile transmission or
  electronic mail, when received, addressed as follows:

          If to the Plan Administrator:

          Patrick M. Donovan
          Cordes & Company
          5299 DTC Blvd., Suite 600
          Greenwood Village, CO 80111
          pdonovan@cordesco.com

         I.      Governing Law. Except to the extent the Bankruptcy Code, the Federal Rules of
  Bankruptcy Procedure, or other federal law is applicable, or to the extent the Plan provides
  otherwise, the rights and obligations arising under the Plan shall be governed by, and construed
  and enforced in accordance with the laws of the State of Colorado without giving effect to the
  Principles of Conflicts of Law of such jurisdiction.

         J.     Allocation of Plan Distributions Between Principal and Interest. To the
  extent that any Allowed Claim entitled to a Distribution under the Plan is comprised of
  indebtedness and accrued but unpaid interest thereon, such Distribution shall, for federal income

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  tax purposes, be allocated to the principal amount of the Claim first and then, to the extent the
  consideration exceeds the principal amount of the Claim, to accrued but unpaid interest.

          K.      Cancellation of Instruments. On the Effective Date, except to the extent
  otherwise provided herein, all notes, stock, instruments, certificates, warrants or options related
  to the common stock, and other documents evidencing the Class 1 Claims and Common Stock
  Interests, shall be deemed automatically canceled, shall be of no further force, whether
  surrendered for cancellation or otherwise, and the obligations of the Debtor thereunder or in any
  way related thereto shall be discharged.




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  May 7, 2018.


                                        COLORADO NATIONAL BANCORP




                                        By:/s/ Scott Jackson
                                                Scott Jackson
                                                Chief Executive Officer
                                        Debtor-in-Possession and Proponent of the
                                        Plan

  APPROVED AS TO FORM:

  JACKSON KELLY, PLLC


  By:/s/ Steven T. Mulligan
    Steven T. Mulligan, #19901.
    Benjamin J. Ross, #49370
    1099 18th St., Suite 2150
    Denver, CO 80202
    Telephone: (303) 390-0192
    Email: smulligan@jacksonkelly.com
              bross@jacksonkelly.com


  Attorneys for the Debtor




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                                  EXHIBIT A



                                 List of Claims



                                  See attached




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                                       IN RE COLORADO NATIONAL BANCORP
                                               Case No. 17-20315 EEB
                                                    Claims Chart

                                                                      Contingent /                           Projected
                                                    Scheduled        Unliquidated /                          Allowed
           Creditor            Class    Scheduled    Amount            Disputed       POC #   POC Amount      Amount

                                               PRIORITY TAX CLAIMS
City and County of Denver      N/A         E            $0.00   Disputed                4       $41,273.21        $0.00
Treasury
201 W Colfax Ave, Dept. 1001
Denver, CO 80202
Internal Revenue Service       N/A                        $0.00                        3-1           $0.00        $0.00
P.O. Box 7346
Philadelphia, PA 19101-7346

                      TOTALS                              $0.00                                 $41,273.21        $0.00




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                                          IN RE COLORADO NATIONAL BANCORP
                                                  Case No. 17-20315 EEB
                                                      Claims Chart

                                                                          Contingent /                           Projected
                                                      Scheduled          Unliquidated /                          Allowed
            Creditor              Class   Scheduled    Amount              Disputed       POC #   POC Amount     Amount

                                           NONPRIORITY UNSECURED CLAIMS
Accutech Systems Corporation       1        F        $0.00                                                              $0.00
260 N Accutech Way
Muncie, IN 47304
ADP TotalSource, Inc.              1         F           $0.00                                                          $0.00
1851 N Resler Drive MS-100
El Paso, TX 79912
Ajay and Kristina C Menon          1         F         $1,634.12                                                    $1,634.12
1609 Fantail Ct.
Fort Collins, CO 80528
Albert F. Hummel                   1         F        $183,376.18                                                $183,376.18
P.O. Box 3407
Rancho Santa Fe, CA 92067
Albert F. Hummel                   1         F        $186,289.49                                                $186,289.49
P.O. Box 3407
Rancho Santa Fe, CA 92067
Anthony R. Mayer                   1         F        $16,627.01                                                   $16,627.01
8001 S. Interport Blvd.
Englewood, CO 80112
Brian Devlin IRA                   1         F         $286,841.13                         17      $286,841.13   $286,841.13
1300 Elder Avenue
Boulder, CO 80304
Brinkerhoff Enterprises, Ltd.      1         F          $40,199.99                                                 $40,199.99
1600 Broadway, Suite 1430
Denver, CO 80202
Captiva Ventures, LLC              1         F          $16,632.48                                                 $16,632.48
1775 Sherman St., Suite 1350
Denver, CO 80203
Carter Dammen                      1         F           $7,983.84                                                  $7,983.84
16431 Wild Plum Circle
Morrison, CO 80465
CBP, JV                            1         F          $19,051.13                                                 $19,051.13
2911 Turtle Creek Blvd.,
Ste., 1240
Dallas, TX 75219
Century Link, Inc.                 1         F               $0.00                                                      $0.00
P.O. Bok 91155
Seattle, WA 98111-9255
Charles J. and Darby Burger        1         F         $164,369.87                          9      $164,484.42   $164,484.42
1700 Lincoln Street, Suite 2150
Denver, CO 80203
Charles J. Burger                            F          $10,152.94                                                 $10,152.94
2251 Golfview Way
Steamboat Springs, CO 80487
Chubb Group Holdings, Inc.         1         F               $0.00                                                      $0.00
P.O. Box 382001
Philadelphia, PA 15250-8001




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                                                                         Contingent /                           Projected
                                                      Scheduled         Unliquidated /                          Allowed
            Creditor              Class   Scheduled    Amount             Disputed       POC #   POC Amount     Amount

                                           NONPRIORITY UNSECURED CLAIMS
Colorado Department of Law         1        F           $0.00                                                          $0.00
Attn: Jim Holden
Ralph L. Carr Colorado Judicial
Center
1300 Broadway, 8th Floor
Denver, CO 80203
Colorado Department of Revenue     1         F              $0.00                                                      $0.00
Attn: Donald Olivett
1375 Sherman St.
Denver, CO 80261-0004
Compass Island Investment          1         F        $120,989.29                                               $120,989.29
Opportunities Fund A, LLP
712 Fith Ave., 12th Floor
New York, NY 10019
Compass Island Investment          1         F        $957,840.64                                               $957,840.64
Opportunities Fund A, LLP
712 Fith Ave., 12th Floor
New York, NY 10019
Cooperstien Analytics, LLC         1         F          $2,000.00                                                  $2,000.00
140 W. 86th St. 9A
New York, NY 10024
Corporation Services Company                 F              $0.00                                                      $0.00
P.O. Box 13397
Philadelphia, PA 19101-3397
Cradle Cove Investment             1         F        $258,112.90                                               $258,112.90
Opportunities Fund, LP
712 Fifth Ave., 12th Floor
New York, NY 10019
CRTT Holdings, LLC                 1         F        $164,616.45                          8      $164,731.00   $164,731.00
Attn: Robert Ekback
10634 Sundial Rim Road
Highlands Ranch, CO 80126
Curtis J. Thompson                 1         F        $246,924.76                          5      $246,929.76   $246,929.76
P.O. Box 776143
Steamboat Springs, CO 80477
Curtis J. Thompson                 1         F         $12,232.59                                                 $12,232.59
P.O. Box 776143
Steamboat Springs, CO 80477
David L. & Elizabeth Marr          1         F         $39,850.68                                                 $39,850.68
4162 Sand Hill Lane
Highlands Ranch, CO 80126
Delaware Secretary of State        1         F              $0.00                                                      $0.00
Division of Corporations
P.O. Box 5509
Binghamton, NY 13902-5509
Diane Cousins                      1         F         $12,568.10                                                 $12,568.10
540 Columbine Ave.
Broomfield, CO 80020
Diane Cousins                      1         F          $1,829.93                                                  $1,829.93
540 Columbine Ave.
Broomfield, CO 80020
Donald A. Yale                     1         F         $24,251.65                          1       $15,000.00     $24,251.65
495 Cook St.
Denver, CO 80206



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                                                                          Contingent /                            Projected
                                                       Scheduled         Unliquidated /                           Allowed
            Creditor               Class   Scheduled    Amount             Disputed       POC #   POC Amount      Amount

                                            NONPRIORITY UNSECURED CLAIMS
Eugene Weil, Trustee                1        F       $466,372.03                                                  $466,372.03
50 East 10th Street, Apt. 5E
New York, NY 10003
Frederick R. Mayer & Jan Perry      1         F         $20,782.58                                                  $20,782.58
Mayer Irrevocable Trust FBO
Anthony Rickard Mayer
P.O. Box 5272
Denver, CO 80217
Frederick R. Mayer & Jan Perry      1         F         $20,782.58                                                  $20,782.58
Mayer Irrevocable Trust FBO
Fredrick Maccasler
P.O. Box 5272
Denver, CO 80217
Frederick R. Mayer & Jan Perry      1         F         $49,878.07                                                  $49,878.07
Mayer Irrevocable Trust FBO
Perry Ellen Mayer
P.O. Box 5272
Denver, CO 80217
Global Mobile, LLC                  1         F        $186,289.49                                                $186,289.49
101 High Street
Denver, CO 80218
Gordon Yale                         1         F         $40,521.91                          2       $25,000.00      $40,521.91
725 Newport St.
Denver, CO 80220
Greg Greene                         1         F         $24,363.85                                                  $24,363.85
2911 Turtle Creek Blvd. Ste 1240
Dallas, TX 75219

Guy G. Gibson                       1         F        $186,289.49                         11      $186,289.49    $186,289.49
3070 N. Lakeridge Tr.
Boulder, CO 80302
Guy G. Gibson IRA                   1         F        $388,504.09                         13       $388,504.09   $388,504.09
FBO Guy G. Gibson
3070 N. Lakeridge Tr.
Boulder, CO 80302
Internal Revenue Service            1         F              $0.00                                                       $0.00
1160 W. 1200 S
Ogden, UT 84201-0225
IRA Plus Southwest, LLC FBO         1         F          $8,397.98                          5        $8,071.57       $8,397.98
Gregory S. Rumsey
3025 Commerce St.
Dallas, TX 75226
Irrevocable Trust of Fredrick       1         F         $41,563.47                                                  $41,563.47
Miller Mayer & Mildred Ricket
Mayer
P.O. Box 5272
Denver, CO 80217
Jack Henry & Associates, Inc.       1         F              $0.00                                                       $0.00
P.O. Box 609
Monett, MO 65708
James B. Haden                      1         F          $8,325.37                                                   $8,325.37
434 Dahlia St.
Denver, CO 80220




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                                                                        Contingent /                           Projected
                                                     Scheduled         Unliquidated /                          Allowed
            Creditor             Class   Scheduled    Amount             Disputed       POC #   POC Amount     Amount

                                          NONPRIORITY UNSECURED CLAIMS
James R. Feehan                   1        F        $10,510.81                                                   $10,510.81
191 South Quince St.
Denver, CO 80230
Jeffrey Desich                    1         F        $671,672.80                         15      $671,995.44   $671,995.44
12521 Cypress Island Way
Wellington, FL 33414
Jeffrey Desich                    1         F         $90,683.87                                                 $90,683.87
12521 Cypress Island Way
Wellington, FL 33414
Jennifer Renee Young              1         F         $25,138.95                                                 $25,138.95
1964 Hacienda Heights Lane
Frisco, TX 75034
Jennifer Renee Young              1         F          $1,983.41                                                  $1,983.41
1964 Hacienda Heights Lane
Frisco, TX 75034
JHM Enterprises, LLC              1         F        $937,688.95                         10      $937,688.95   $937,688.95
6783 S. Yates Ct.
Littleton, CO 80128
John & Laurel Nelligan            1         F        $466,291.97                                               $466,291.97
23 Ronsard
Newport Coast, CA 92657
John & Andrea Horan               1         F         $40,535.61                          7      $275,000.00     $40,535.61
6170 E. Quincy Ave.
Cherry Hills Village, CO 80111
John R. Sprengle Trust            1         F          $8,113.99                                                  $8,113.99
P.O. Box 770008
Steamboat Springs, CO 80477
John R. Sprengle Trust            1         F          $1,168.75                                                  $1,168.75
P.O. Box 770008
Steamboat Springs, CO 80477
John G. Sprengle                  1         F         $25,089.66                                                 $25,089.66
1727 Sunset Ridge Rd.
Highlands Ranch, CO 80126
Julie Devlin IRA                  1         F        $191,062.97                         12      $191,062.97   $191,062.97
1300 Elder Avenue
Boulder, CO 80304
Kathleen Hagan Brown              1         F         $16,748.30                                                 $16,748.30
3030 E. Illif
Denver, CO 80210
Keenen Dammen                     1         F         $39,727.39                                                 $39,727.39
178 Strong Island Road
Chatham, MA 02633
Kelly Doll                        1         F          $8,085.22                                                  $8,085.22
345 San Juan Drive
Ponte Verde, FL 32082
Kristen Dammen                    1         F         $39,727.39                                                 $39,727.39
178 Strong Island Road
Chatham, MA 02633
Kylemar, LLLP                     1         F         $24,313.29                          6       $23,731.85     $24,313.29
3005 Rosedale Ave.
Dallas, TX 75025
Lewan & Associates, Inc.          1         F              $0.00                                                      $0.00
P.O. Box 912728
Denver, CO 80291-2728



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                                                                         Contingent /                           Projected
                                                      Scheduled         Unliquidated /                          Allowed
            Creditor              Class   Scheduled    Amount             Disputed       POC #   POC Amount     Amount

                                           NONPRIORITY UNSECURED CLAIMS
Mark Haden                         1        F        $8,303.90                                                     $8,303.90
424 Dahlia St.
Denver, CO 80220
Mountain West Series of Lockton    1         F              $0.00                                                      $0.00
Corp., LLC Dept. 999226
P.O. Box 173850
Denver, CO 80217-3850

Nelson Cole                        1         F          $3,774.31                                                  $3,774.31
P.O. Box 1323
Kremmling, CO 80459
Nelson Cole IRA                    1         F         $21,922.17                                                 $21,922.17
P.O. Bod 1323
Kremmling, CO 80459
Nelson Cole Roth IRA               1         F          $5,039.53                                                  $5,039.53
P.O. Box 1323
Kremmling, CO 80459
Nicholas Filla                     1         F         $10,775.33                                                 $10,775.33
700 17th St. Suite 100
Denver, CO 80206
Nicholas Filla                     1         F            $883.42                                                   $883.42
700 17th St. Suite 100
Denver, CO 80206
Patrick S. Wallace                 1         F          $3,014.62                                                  $3,014.62
2525 Stemmons Freeway
Dallas, TX 75207
Plaintiffs in State Court Case     1         F         $29,320.11                                                 $29,320.11
No. 2016 CV 32240
c/o James T. Markus
1700 Lincoln St., Suite 4559
Denver, CO 80203
Pricewaterhouse Coopers, LLP       1         F         $11,000.00                                                 $11,000.00
P.O. Box 75647
Chicago, IL 60675-5647
Retama, LLLP                       1         F        $481,365.41                                               $481,365.41
1600 Broadway, Suite 1400
Denver, CO 80202
Retama, LLLP                                 F         $54,812.00                                                 $54,812.00
1600 Broadway, Suite 1400
Denver, CO 80202
Richard Desich                     1         F        $671,898.55                         16      $672,108.32   $672,108.32
12521 Cypress Island Way
Wellington, FL 33414
Richard Desich                     1         F         $90,683.87                                  $91,634.18     $91,634.18
12521 Cypress Island Way
Wellington, FL 33414
Scot Holding, Inc.                 1         F         $24,251.65                                                 $24,251.65
110 Mesa Park Drive, Suite 100
El Paso, TX 79912
Scot Holding, Inc.                 1         F          $3,506.11                                                  $3,506.11
110 Mesa Park Drive, Suite 100
El Paso, TX 79912




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                                                                         Contingent /                             Projected
                                                      Scheduled         Unliquidated /                            Allowed
           Creditor              Class   Scheduled     Amount             Disputed       POC #   POC Amount       Amount

                                          NONPRIORITY UNSECURED CLAIMS
Scott A. Vanderhoofven            1        F        $8,371.95                                                        $8,371.95
1820 S. 143rd E.
Wichita, KS 67230
Scott Jackson                     1         F          $94,524.63                                                   $94,524.63
101 High Street
Denver, CO 80218
Scott L. Gesell                   1         F          $28,398.88                                                   $28,398.88
2923 E. 134th Street
Bixby, OK 74008
Scott L. Gesell                   1         F           $7,920.82                                                    $7,920.82
2923 E. 134th Street
Bixby, OK 74008
Sherron G. Perry                  1         F         $218,082.36                                                  $218,082.36
9525 King St.
Ancorage, AK 99515
The John and Karen Sprengle       1         F          $80,386.28                                                   $80,386.28
Trust
1727 Sunset Ridge Rd.
Highlands Ranch, CO 80126
The John and Karen Sprengle       1         F          $34,187.99                                                   $34,187.99
Trust
1727 Sunset Ridge Rd.
Highlands Ranch, CO 80126
Thomas A. Gesell                  1         F           $4,052.11                                                    $4,052.11
2620 G St. South
Siuth Sioux City, NE 68776
Tim Baxter                        1         F           $8,170.56                                                    $8,170.56
2281 Vantage Street
Dallas, TX 75207
Wilblairco II, LLC                1         F          $68,955.49                                                   $68,955.49
222 West Adams St.
Chicago, IL 60606
ZKB Properties, LLC               1         F           $5,844.75                                                    $5,844.75
1600 Broadway, Suite 1430
Denver, CO 80202
                        TOTALS              F        $8,794,436.21                               $4,349,073.17   $8,796,153.03




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                                           IN RE COLORADO NATIONAL BANCORP
                                                   Case No. 17-20315 EEB
                                                        Claims Chart


                                                           Total       Contingent /                         Projected
                                            Schedule /   Common       Unliquidated /                        Allowed
          Shareholder              Class      Form     Stock Position   Disputed       POC #   POC Amount    Amount

                                   COMMON STOCK INTEREST CLAIMS (UNSECURED)

Ajay Menon                          2        Official             666
1609 Fantail Ct.                            Form 207
Fort Collins, CO 80528
Albert A. Rayle III IRA Rollover    2        Official          13,333
3302 West Andrews Dribve                    Form 207
Atlanta, GA 30305
Albert F. Hummel                    2        Official             100
P.O. Box 3407                               Form 207
Rancho Santa Fe, CA 92067
Andrew J. Marshall                  2        Official           3,333
6854 Lewis Court                            Form 207
Littleton, CO 80127
Andrew Yale                         2        Official           1,667
495 Cook St.                                Form 207
Denver, CO 80206
Anthony R. Mayer                    2        Official           6,666
8001 S. Interport Blvd.                     Form 207
Englewood, CO 80112
Bere Neas                           2        Official           3,333
P.O. Box 770038                             Form 207
Steamboat Springs, CO 80477
Blue Eagle, LLC                     2        Official           3,334
310 Eudora St.                              Form 207
Denver, CO 80220
Brad Busse                          2        Official          16,666
3000 Ohm Way                                Form 207
Denver, CO 80209
Bradley J. Shipman                  2        Official           1,111
291 Monroe St.                              Form 207
Denver, CO 80206
Brandon May                         2        Official             291
1184 S. Vine St.                            Form 207
Denver, CO 80210
Brett A. Rowland                    2        Official             800
415 E. 54th St., Apartment 5F               Form 207
New York, NY 10022
Captiva Ventures, LLC               2        Official           6,666
1775 Sherman St., Suite 1350                Form 207
Denver, CO 80203
Carter K. Dammen                    2        Official           3,333
16431 Wild Plum Circle                      Form 207
Morrison, CO 80465
Casey D. Miles                      2        Official
6820 Linford Lane                           Form 207
Jacksonville, FL 32217                                          7,500




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                                                          Total       Contingent /                         Projected
                                           Schedule /   Common       Unliquidated /                        Allowed
          Shareholder              Class     Form     Stock Position   Disputed       POC #   POC Amount    Amount

                                   COMMON STOCK INTEREST CLAIMS (UNSECURED)
CBP, JV                             2   Official
2911 Turtle Creek Blvd.,               Form 207
Suite 1240
Dallas, TX 75219                                               7,700
Central Wyoming Urological          2       Official
Associates                                 Form 207
434 Dahlia St.
Denver, CO 80220                                               3,333
Charles Burger                      2       Official
1700 Lincoln Street, Suite 2150            Form 207
Denver, CO 80203                                               8,750
Coleen Sue Frens-Rossman            2       Official
481 S. Corona St.                          Form 207
Denver, CO 80209                                                 251
Compass Island Investment           2       Official
Opportunities Fund A, LP                   Form 207
712 Fith Ave., 12th Floor
New York, NY 10019                                          205,146
Cradle Cove Investment              2       Official
Opportunities Fund A, LP                   Form 207
712 Fifth Ave., 12th Floor
New York, NY 10019                                            55,519
CRTT Holdings, LLC                  2       Official
10634 Sundial Rim Road                     Form 207
Highlands Ranch, CO 80126                                      8,750
                                    2       Official
David L. Marr & Elizabeth B Marr           Form 207
4162 Sand Hill Lane
Highlands Ranch, CO 80126                                     42,833
David P. Tuttle                     2       Official
74 Dogwood Lane                            Form 207
New Canaan, CT 06840                                           3,334
DB Holdings (New York), Inc.        2       Official
60 Wall Street                             Form 207
New York, NY 10005                                            99,580
Diane Cousins                       2       Official
540 Columbine Ave.                         Form 207
Broomfield, CO 80020                                          19,333
Donald A. Yale                      2       Official
495 Cook St.                               Form 207
Denver, CO 80206                                              10,000
Dustin Herman                       2       Official
540 Pennsylvania St., Unit D               Form 207
Denver, CO 80203                                               3,333
ECKO Resources, LLC                 2       Official
2525 Stemmons Feeeway                      Form 207
Dallas, TX 75207                                              13,200
FBO Coleen Sue Frens-Rossman        2       Official
NTC & CO FB                                Form 207
481 S. Corona St.
Denver CO 80209                                                6,666



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                                                          Total       Contingent /                         Projected
                                           Schedule /   Common       Unliquidated /                        Allowed
          Shareholder              Class     Form     Stock Position   Disputed       POC #   POC Amount    Amount

                                   COMMON STOCK INTEREST CLAIMS (UNSECURED)
Four Winds Enterprises, LTD         2   Official
8080 N. Central Expressway,            Form 207
Suite 780B
Dallas, TX 75206                                              16,670
Frederick R Mayer & Jan Perry       2       Official
Mayer Irr Trst FBO Anthony                 Form 207
Richard Mayer                                                  8,333
Frederick R Mayer & Jan Perry       2       Official
Mayer Irr Trst FBO Frederick               Form 207
Maccasler Mayer                                                8,333
Frederick R Mayer & Jan Perry       2       Official
Mayer Irr Trst FBO Perry Ellen             Form 207
Mayer                                                         20,000
FVP MASTERFUND L.P.,                2       Official
551 Fifth Ave., 36th Floor                 Form 207
New York, NY 10176                                           348,815
Global Mobile, LLC                  2       Official
101 High Street                            Form 207
Denver, CO 80218                                              38,308
Gordon Yale & Jennifer Carver       2       Official
as Tenants in Common                       Form 207
725 Newport St.
Denver, CO 80220                                              16,666
Greg Charles Greene                 2       Official
2911 Turtle Creel Blvd.,                   Form 207
Suite 1240
Dallas, TX 75219
                                                              13,333
Ilya Polyakov                       2       Official
37 Boss House, 2 Boss Street SE1           Form 207
2PS
London, Untied Kingdom                                         5,000
IRA Plus Southwest, LLC FBO         2       Official
Gregory S. Rumsey                          Form 207
3025 Commerce St.
Dallas, TX 75226
                                                               3,334
Irrevocable Trust of Fredrick       2       Official
Miller Mayer and Mildred Ricket            Form 207
Mayer
P.O. Box 5272
Denver, CO 80217                                              16,666
Jacques De Saint Phalle             2       Official
919 Third Ave.                             Form 207
New York, NY 10022                                             3,333
James C. Doughan                    2       Official
401 City Avenue                            Form 207
Bala Cynwyd, PA 19004                                            700
James R. Feehan                     2       Official
191 Quince St.                             Form 207
Denver, CO 80203                                               4,333



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                                                         Total       Contingent /                         Projected
                                          Schedule /   Common       Unliquidated /                        Allowed
         Shareholder              Class     Form     Stock Position   Disputed       POC #   POC Amount    Amount

                                  COMMON STOCK INTEREST CLAIMS (UNSECURED)
Jeffrey Desich                     2   Official
12521 Cypress Island Way              Form 207
Wellington, FL 33414                               250,000
Jennifer Renee Young               2   Official
1964 Hacienda Heigths Lane            Form 207
Frisco, TX 75304                                     3,333
John Sprengle CGM IRA Rollover     2   Official
Custodian                             Form 207
c/o Morgan Stanley Smith Barney
3280 Peachtree Rd. NE,
Suite 1900
Atlanta, GA 30305
                                                             10,000
John Horan & Andrea Horan          2       Official
6170 Quincy Ave.                          Form 207
Cherry Hills Village, CO 80111                               16,667
John K. Schultz                    2       Official
9565 Silent Hills Lane                    Form 207
Lone Tree, CO 80124                                           3,000
John R. Sprengle Trust             2       Official
P.O. Box 770008                           Form 207
Steamboat Springs, CO 80477                                   3,333
John T. Baxter                     2       Official
2281 Vantage Road                         Form 207
Dallas, TX 75207                                              3,333
Kathleen Hagan Brown               2       Official
3030 E. Illif                             Form 207
Denver, CO 80210                                             17,382
Kathrynn Ann Rinn                  2       Official
201 Bradford Dr.                          Form 207
Milford, OH 45150                                             1,111
Keenen Wyn Dammen Revocable        2       Official
Trust                                     Form 207
178 Strong Island Road
Chatham, MA 02633                                            18,452
Kelly Doll                         2       Official
345 San Juan Drive                        Form 207
Pont Verde, FL 32082                                          3,333
Ken Allen                          2       Official
6101 S. Marion Way                        Form 207
Centennial, CO 80121                                         10,714
Kerstin S. Dammen Revocable        2       Official
Trust                                     Form 207
178 Strong Island Road
Chatham, MA 02633                                            18,452
Kylemar, LLLP                      2       Official
3005 Rosedale Ave.                        Form 207
Dallas, TX 75205                                              3,333
Lee & Janet Anderbery              2       Official
5120 Jade Court                           Form 207
Lincoln, NE 68516                                             3,333



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                                                         Total       Contingent /                         Projected
                                          Schedule /   Common       Unliquidated /                        Allowed
          Shareholder             Class     Form     Stock Position   Disputed       POC #   POC Amount    Amount

                                  COMMON STOCK INTEREST CLAIMS (UNSECURED)
Liberty Harbor TC Master           2   Official
Partnership, LP                       Form 207
GSAM Liberty Harbor
1 American Lane
Greenwich, CT 06831                                          33,453
Marcelina Lynn Rivera              2       Official
851 S. High Street                        Form 207
Denver, CO 80209                                              2,666
Margaret A. Austin                 2       Official
4510 Steeley Ave.                         Form 207
Downers Grove, IL 60515                                       2,000
Margareta S. Sudbrink Revocable    2       Official
Trust                                     Form 207
3900 Ocean Drive
Apartment 17GH
Lauderdale-By-Sea, FL 33308                                   3,333
Mark Haden                         2       Official
343 Dahlia St.                            Form 207
Denver, CO 80220                                             21,933
Mathew G Lamb                      2       Official
35866 Whispering Pine Ct.                 Form 207
Elizabeth, CO 80107                                           3,616
Mathew H. Briger                   2       Official
8 Sunrise Drive                           Form 207
Cherry Hills, CO 80113                                        3,666
Maureen Stackhouse                 2       Official
6873 Parker Creek Place                   Form 207
Frisco, TX 75034                                                251
Michael O'Neill                    2       Official
7415 Highland Drive                       Form 207
Lakewood, CO 80214                                            5,000
Mile High Western South, LLC       2       Official
65 East 55th Street, 30th Floor           Form 207
New York, NY 10022                                          147,196
Mile High Western, LLC             2       Official
65 East 55th Street, 30th Floor           Form 207
New York, NY 10022                                           53,996
Nelson Cole                        2       Official
P.O. Box 1323                             Form 207
Kremmling, CO 80459                                               99
Nelson Cole IRA                    2       Official
P.O. Box 1323                             Form 207
Kremmling, CO 80459                                           8,700
Nelson Cole Roth IRA               2       Official
P.O. Box 1323                             Form 207
Kremmling, CO 80459                                           2,000
Nicholas Filla                     2       Official
700 17th Street, Suite 100                Form 207
Denver, CO 80202                                             22,475




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                                                        Total       Contingent /                         Projected
                                         Schedule /   Common       Unliquidated /                        Allowed
          Shareholder            Class     Form     Stock Position   Disputed       POC #   POC Amount    Amount

                                 COMMON STOCK INTEREST CLAIMS (UNSECURED)
NTC & CO Tenise Homan             2   Official
6010 Blossom St.                     Form 207
Houston, TX 77007                                   6,666
Palmetto Credit Fund, LP          2   Official
GSAM Liberty Harbor                  Form 207
1 American Lane
Greenwhich, CT 06831                                        33,453
Rachel Plencer                    2       Official
45 Ogden Street, Unit 52                 Form 207
Denver, CO 80218                                             6,666
RETAMA, LLLP                      2       Official
1600 Broadway, Suite 1430                Form 207
Denver, CO 80202                                           133,258
Richard Desich                    2       Official
12521 Cypress Island Way                 Form 207
Wellington, FL 33414                                       250,000
Robert Hoffman                    2       Official
1887 Deer Park Circles                   Form 207
Grand Junction, CO 81507                                         75
Scot Holding, Inc.                2       Official
P.O. Box 522541                          Form 207
El Paso, TX 79952                                           10,000
Scott A. Vanderhoofven            2       Official
1820 South 143rd E.                      Form 207
Wichita, KS 67230                                            3,333
Scott D. Jackson                  2       Official
101 High Street                          Form 207
Denver, CP 80218                                            53,246
Scott L. Gesell                   2       Official
2923 E. 134th Street                     Form 207
Bixby, OK 74008                                             50,479
Sheldon M. Miles                  2       Official
6820 Linford Lane                        Form 207
Jacksonville, FL 32217                                       7,500
Sherron Perry and Kelly Perry     2       Official
Irrevocable Alaska Trust                 Form 207
9525 King St.
Ancorage, AK 99515                                          66,263
Sophia Symko                      2       Official
347 Race St.                             Form 207
Denver, CO 80209                                               333
Sparks Family Investments, LLC    2       Official
64 Parade Hill Lane                      Form 207
New Canaan, CT 06840                                        33,333
Steve Meyer                       2       Official
685 Crest Court                          Form 207
Grand Junction, CO 81506                                         75
Steve Rosdal                      2       Official
291 Monroe St.                           Form 207
Denver, CO 80206                                             3,333




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                                                         Total       Contingent /                         Projected
                                          Schedule /   Common       Unliquidated /                        Allowed
          Shareholder             Class     Form     Stock Position   Disputed       POC #   POC Amount    Amount

                                  COMMON STOCK INTEREST CLAIMS (UNSECURED)
Susie M. Cohen                     2   Official
157 Fiesta Way                        Form 207
Fort Lauderdale, FL 33301                            1,111
Tara Anne Leberman                 2   Official
45 Ogden Street, Unit 52              Form 207
Denver, Co 80218                                       204
Tenise Homan                       2   Official
6010 Blossom St.                      Form 207
Houston, TX 77007                                   17,151
The John & Karen Sprengle Trust    2   Official
1727 Sunset Ridge Road                Form 207
Highlands Ranch, CO 80126                           59,858
The Jones Foundation, LLC          2   Official
c/o Arlington Trust Company           Form 207
2000 Morris Ave., Suite 1210
Birmingham, AL 65203                                         33,333
Thomas A. Gesell                   2       Official
2620 G St. South                          Form 207
South Sioux City, NE 68766                                     3333
Timothy Dumler                     2       Official
4701 Delaware Drive                       Form 207
Larkspur, CO 80118                                            3,333
Wilblairco II, LLC                 2       Official
222 West Adams St.                        Form 207
Chicago, IL 60606                                            26,666
ZKB Properties, LLP                2       Official
1600 Broadway, Suite 1430                 Form 207
Denver. CO 80202                                             16,667
                TOTAL SHARES                              2,556,180




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